                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN



UNITED STATES OF AMERICA,
    Plaintiff,

                      v.                       Case No. 2:25-CR-89

HANNAH C. DUGAN,
    Defendant.


DISCLOSURE STATEMENT OF THE CENTER FOR AMERICAN RIGHTS


The undersigned, counsel of record for Movant Center for American Rights, furnishes

the following list in compliance with Civil L. R. 7.1 and Fed. R. Civ. P. 7.1:

1) Movant is the Center for American Rights, a registered d/b/a of the National Center

for Justice and Liberty.

2) The amicus is an Illinois non-profit corporation. It issues no stock and has no

parent corporation.

3) The Movant is a public-interest law firm represented by one of the attorneys on its

staff, Daniel Suhr.

Respectfully submitted,

/s/ Daniel R. Suhr
Daniel R. Suhr
Center for American Rights
1341 W. Fullerton Ave., Suite 170
Chicago, Illinois 60614
dsuhr@americanrights.org
414.588.1658

June 9, 2025




      Case 2:25-cr-00089-LA-NJ      Filed 06/09/25    Page 1 of 1   Document 33
